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 16
 17
                               UNITED STATES DISTRICT COURT
 18
            CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
 19
      JOSEPH DIAZ, JR.,                        CASE NO. 5:20-cv-02332-JWH-KK
 20                                            HON. KENLY KIYA KATO
                  Plaintiff,
 21                                            [DISCOVERY MATTER]
            v.
 22                                            LOCAL RULE 37-2.1 JOINT
    RALPH HEREDIA; JOHN DOE,                   STIPULATION RE: DEFENDANT’S
 23 ESQ.; and JANE DOES 1 through 20,          MOTION TO COMPEL A FIRST
    inclusive,                                 RESPONSE TO REQUESTS FOR
 24                                            PRODUCTION OF DOCUMENTS
                Defendants.                    AND TO COMPEL FURTHER
 25                                            RESPONSES TO FIRST SETS OF
                                               REQUESTS FOR ADMISSIONS OR
 26                                            DEEM THEM ALL ADMITTED; AND
                                               REQUEST FOR SANCTIONS IN THE
 27                                            AMOUNT OF $25,000.
 28                                            Discovery Cut-Off Date: July 8, 2022


                       LOCAL RULE 37-2.1 JOINT STIPULATION RE: DEFENDANT’S MOTION TO COMPEL
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  1         REQUEST FOR PRODUCTION NO. 102:
  2               All DOCUMENTS or COMMUNICATIONS supporting or rebutting the
  3 allegations of Paragraph 112 of YOUR COMPLAINT.
  4         Defendant’s Contention:
  5         Plaintiff has not responded to this RFP at all: not by production, not by objection,
  6 and not by a request for an extension of time. Defendant does not know whether any
  7 of Diaz’ eighty-five page production is responsive to this request, because Diaz failed
  8 to organize and label his production as required by the rules.
  9         Instead, contrary to the Federal Rules of Civil Procedure, he had embargoed any
 10 response whatsoever under the guise of desiring that a protective order first be put in
 11 place. That is not consistent with his discovery obligations, however, nor is it
 12 appropriate under the Federal Rules. Plaintiff respectfully requests that the Court order
 13 full and immediate production of all responsive documents, without objection.
 14         During the April 13, 2022 meeting between counsel over this matter, Heredia’s
 15 counsel expressed concern that Diaz’ counsel was waiting to produce anything until
 16 the parties executed a protective order for certain responsive documents that may be
 17 confidential. Montalvo Decl. ¶ 6. Counsel have been negotiating the scope of a
 18 proposed protective order. Heredia recognizes that Plaintiff’s medical and mental
 19 health records, and certain Personally-Identifiable Information, may be confidential
 20 and potentially properly subject to a protective order, but Diaz may not withhold non-
 21 confidential responsive documents until a protective order is in place.
 22         During the meet and confer, Diaz’ counsel agreed to provide all non-confidential
 23 documents in response to the RFP that same week, Montalvo Decl. ¶ 7, but that week
 24 passed and nothing was produced. Montalvo Decl. ¶ 9.
 25         Federal Rule of Civil Procedure 26(b)(2)(A) does not give a party the discretion
 26 to wholly ignore Requests for Production. The party upon which a Request for
 27 Production is propounded must respond within thirty days. Further, Federal Rule of
 28 Civil Procedure 37(d)(1)(A) allows a court to order sanctions where a party, among

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                         LOCAL RULE 37-2.1 JOINT STIPULATION RE: PLAINTIFF’S MOTION TO COMPEL
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  1 protective order for confidential documents, and even when Diaz’ counsel promised to
  2 produce non-confidential documents the week of the meeting between counsel, Diaz’
  3 counsel did not. Further, Diaz has improperly objected to each of the RFAs, and
  4 provided those responses late.
  5        Heredia therefore respectfully requests that the Court issue an order:
  6        (1) Requiring Diaz to:
  7              (a)    produce, without objection, all non-confidential responsive
  8        documents and information in response to the RFPs;
  9              (b)    produce, without objection, all confidential documents and
 10        information within three days after the parties agree to a protective order;
 11        (2) As to Heredia’s Requests for Admission, either
 12              (a)    deeming them admitted; or
 13              (b)    order Diaz to respond without objection to Heredia’s RFAs;
 14        (3) Imposing significant sanctions against Diaz; and
 15        (3) Imposing significant sanctions against Diaz’ counsel.
 16           b. Diaz’ Conclusion
 17
 18
 19                                         Respectfully submitted,
 20
 21
 22 Dated: April 28,2022             FEDERAL PRACTICE GROUP
 23
 24                                     By:/s/ Eric S. Montalvo
 25                                        Eric S. Montalvo
                                           Rajan O. Dhungana
 26                                        Attorneys for Defendant,
 27                                        Ralph Heredia

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                        LOCAL RULE 37-2.1 JOINT STIPULATION RE: PLAINTIFF’S MOTION TO COMPEL
